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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY M. REIF, JUDGE

                                                                :
COZY COMFORT COMPANY, LLC,                                      :
                                                                :
                           Plaintiff,                           :
                                                                :     Court No. 21-00404
                           v.                                   :
                                                                :
UNITED STATES,                                                  :
                                                                :
                           Defendant.                           :
                                                                :


                                                  ORDER
         Upon reading plaintiff’s motion for a postassignment conference to explore court-

 annexed mediation; defendant’s response in opposition thereto; upon consideration of other

 papers and proceedings had herein; and upon due deliberation, plaintiff’s motion for a

 postassignment conference is denied. Plaintiff may renew its motion after discovery has been

 completed. It is hereby

         ORDERED that plaintiff’s motion be, and hereby is, denied without prejudice.


                                                          /s/ Timothy M. Reif
                                                          Timothy M. Reif, Judge

Dated: This 26th day of     April       , 2022.
       New York, New York
